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                                     IN THE UNITED STATES DISTRICT COURT

                                             FOR THE DISTRICT OF OREGON

        Blanca Aguirre,
                                                                                  Case No. 3:18-cv-01916-HZ
                                 Plaintiff,


              v.                                                                    JURY TRIAL MANAGEMENT ORDER
    Port of Portland, et al,

                               Defendant.

       The Pretrial Conference is set on                     4/11/2022                at 1:30PM              in Portland Courtroom 15A.

            4-
        The GD\ Jury Trial is set to begin on                  04/19/2022           at 9:00AM           in 3RUWODQG&RXUWURRP$

    FIRST WAVE OF DOCUMENTS ARE DUE 4 WEEKS BEFORE PRETRIAL CONFERENCE:

    Item                     Description                                                                       Filed?             Copy?1
    Exhibits and             Copy of each exhibit with exhibit list.                                           DO NOT             Yes – to
    Exhibit Lists                                                                                              FILE               judge and to
                             Plaintiff's exhibits shall be numbered on yellow exhibit                          EXHIBITS           opposing
                             stickers starting with "1".                                                                          counsel
                                                                                                               Only file          (except
                             Defendant's exhibits shall be numbered on blue exhibit                            Exhibit Lists      impeachment
                             stickers starting with "501".                                                                        exhibits
                                                                                                                                  which are not
                             The case number shall be printed on each exhibit sticker. Each                                       provided to
                             exhibit shall be paginated.                                                                          opposing
                                                                                                                                  counsel; only
                             The original and judge's copy of all exhibits shall be                                               to the court in
                             placed into separate, three-hole binders with clearly                                                second wave)
                             marked index tabs, numbered for each exhibit.

                             Exhibit lists shall contain three columns to the right of the
                             exhibit description labeled: "Marked," "Offered," and
                             "Received," in that order. Exhibit lists containing proposed
                             supplemental exhibits must be captioned as "First (Second...)
                             Amended Exhibit List" and must list the proposed exhibits as
                             well as all previous exhibits.
                             Impeachment exhibits shall be identified on the exhibit list
                             simply as "Impeachment Exhibit" (no further description).

                             Original exhibits themselves (including original impeachment
                                     2
                             exhibits ) are not filed but must be brought to


    1
        All judge’s copies of trial documents shall be 3-hole punched on the left side before submission. Judge’s copies of documents to be
        submitted the same day as the original document is filed.
    2
        See Second Wave #6 for submission of judge’s copy of impeachment exhibits
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                                                           3
                            the pretrial conference. )
Lay Witness                 List all lay witnesses to be called. Include the name and                           Yes            Yes
Statements and              occupation, the estimated length of direct examination, and the
Expert                      complete substance of the testimony. Do not say, "The
Narratives                  witness will testify about the accident." Say, "The witness will
                            testify that the defendant ran the red light and was going an
                            estimated 30 miles per hour."

                            Submit a written narrative/report for each expert setting forth
                            their qualifications, the substance of opinions to be expressed
                            in detail, and the facts and data upon which the opinions are
                            based.
Itemized List of            Specify damages sought and how such damages will be                                 Yes            Yes
Economic                    proven -- i.e., through which exhibits and/or witness
Damages                     testimony.
Deposition                  Depositions offered in lieu of live testimony must be                               NO --          Yes
Designations                submitted to the court with the portions sought to be                               DO
                            admitted highlighted on both the original and judge's                               NOT
                            copies.                                                                             FILE

                            If more than one party wishes to use the same deposition in lieu
                            of live testimony, a single deposition shall be submitted jointly
                            with each party designating on the single copy, using different
                            colored highlighting, those portions of the depositions it intends
                            to use.
Trial Memoranda             Provide a brief summary of all material, factual and legal                          Yes            Yes
                            contentions along with the elements of each claim and/or
                            defense. Trial memoranda are limited to 15 pages without
                            leave of court.

SECOND WAVE OF DOCUMENTS ARE DUE 3 WEEKS BEFORE PRETRIAL CONFERENCE:

Item                        Description                                                                         Filed?         Copy?
Motions in                  All motions in limine shall be filed as sub-parts within a single                   Yes            Yes
Limine                      document not to exceed 10 pages without leave of court.
                            Responses to motions in limine (see third wave) shall not
                            exceed 10 pages without leave of court.
                            Conferral required – see LR 7-1.
Proposed Voir               The court will consider granting each party a brief opportunity                     Yes            Yes
Dire Questions              to follow-up on the court's questioning during voir dire. If any
                            questioning is undertaken by counsel, it shall be restricted to
                            areas approved by the court.

                            Proposed voir dire questions shall be submitted on
                            CD-rom, or emailed to the courtroom deputy, in Word or
                            WordPerfect format, and shall be grouped by subject matter,
                            in the order to be asked.
Proposed Joint              The parties shall submit a single set of jury instructions on CD-                   Yes            Yes
Jury Instructions           rom, or by email to the courtroom deputy, in Word or
                            WordPerfect format, in the order that the parties wish them to
                            be given.

                            The parties shall identify all agreed upon instructions as “joint”
                            instructions. If the parties disagree as to the form or content of
                            any instruction, two alternative proposed

3Exhibits   are also to be submitted in electronic format on DVD or thumb drive. Separate order to follow with instructions.

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                          instructions may be submitted along with a brief analysis
                          (which shall include any relevant legal authority) as to why one
                          instruction should be given over the other. These
                          disputed instructions should be identified as to the
                                                                           4
                          party submitting (see example #1 for format).

                          If there are more than 20 instructions, include an index. Where
                          topics are covered by 9th Circuit Model Jury Instructions or by
                          Oregon State Bar UCJI, simply indicate which number should
                          be used. Each instruction, outside of the model, shall be on a
                          separate sheet of paper citing authority in support of each
                          principle.
Proposed                  Each party shall submit a proposed verdict form on a CD-                   Yes       Yes
Verdict Form              rom, or by email to the courtroom deputy, in Word or
                          WordPerfect format.
Objections to             Objections to witnesses and/or exhibits, and the responses                 Yes       Yes
Witnesses (to be          thereto (see third wave), shall specify the witnesses or exhibits
presented live of         at issue and be grouped by type of legal or factual objection.
via deposition            Please explain the basis of each objection (see example #2 for
designation) or           format.)
Exhibits
Impeachment               Names and statements of impeachment witnesses, and/or                      NO –      Yes - to
Witnesses or              copies of impeachment exhibits shall be sealed and delivered               DO        court only
Exhibits                  to the court.                                                              NOT

THIRD WAVE OF DOCUMENTS ARE DUE 2 WEEKS BEFORE PRETRIAL CONFERENCE:

Item                                                                                                 Filed?    Copy?
All rebuttal witness statements and exhibits.                                                        Yes       Yes
Responses to (a) motions in limine, (b) objections to exhibits, and (c) objections to                Yes       Yes
witnesses.
Plaintiff and defendant shall separately submit a one-page listing of all potential                  Yes       Yes
witnesses.

FINAL SUBMISSIONS ARE DUE TWO BUSINESS DAYS FOLLOWING FILING OF THIRD
WAVE DOCUMENTS:

Item                      Description                                                                Filed?    Copy?
Joint Ruling              Attorneys to prepare and submit to the court an agreed                     NO –
                                                                                                       Yes - and
Chart – Motions           upon chart of all motions in limine which the court is to                  DOemail to
in Limine                 consider (see example #3 for format).                                      NOT
                                                                                                       the
                                                                                                     FILE
                                                                                                       courtroom
                                                                                                       deputy, in
                                                                                                       Word or
                                                                                                       WordPerfe
Joint Ruling        Attorneys to prepare and submit to the court an agreed-                NO –        Yes – and
Chart –             upon chart of all witness and exhibit objections                       DO          email to
Witnesses and       which the court is to consider (see example #4 for format).            NOT         the
Exhibits                                                                                   FILE        courtroom
                                                                                                       deputy, in
                                                                                                       Word or
                                                                                                       WordPerfe
NOTE: If rulings on motions in limine relate to objections to witnesses and /or exhibits, please cross-reference.



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    All examples may be found at: www.ord.uscourts.gov/index.php/court-info/judges/judge-hernandez

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 PRETRIAL CONFERENCE: During the pretrial conference, be prepared to discuss the

 following:

        a)     Exhibit and witness objections;
        b)     What, if any, technological aids will be used to display exhibits to the jury;
        c)     Deposition testimony objections;
        d)     Motions in limine;
        e)     Voir dire matters;
        f)     Jury instructions;
        g)     Verdict form; and,
        h)     Settlement and/or mediation efforts.

        No exhibits or testimony will be received into evidence at trial, nor will any

 amended pleadings or supplemental jury instructions be accepted unless presented in

 accordance with this order. Late submissions will not be accepted absent a strong

 showing of good cause balanced against any prejudice to the opposing party.

        For further information on trial procedures, please refer to the Trial Court

Guidelines for the District of Oregon at: www.ord.uscourts.gov/index.php/attorneys/trial-

court-guidelines.

       If any change in pretrial or trial date is granted, the timeframes set out in this order

shall apply to any new trial date.



        IT IS SO ORDERED.

        Dated this August 6, 2021        .


                                                      /s/ Marco A. Hernandez
                                                      MARCO A. HERNANDEZ
                                                      United States District Court Judge




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